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                       IN THE UNITED STATES DISTRICT COURT
                                                                                  210C1-6 PH 3:3k
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                               CLER)7. tS1              C0UT
                                                                                VESTERN          f     OF TEXAS
GEORGE HOWARD,                                  §
                                                §
       Plaintiff,                               §
                                                §
vs.                                             §      CIVIL ACTION NO. 1:21-cv-00781-LY
                                                §
AMERIFIRST FINANCIAL, INC. AND                  §
HELEN ROBINSON,                                 §
                                                §
       Defendants.                              §

                              AGREED ORDER OF REMAND

       On this date came on for consideration Plaintiff's Motion to Remand and the related

Stipulation Relating to Remand filed jointly by the Parties. Having considered the Motion, and

the fact that it is unopposed, the Court is of the opinion that the Motion should be and is hereby

GRANTED.

       IT IS THEREFORE ORDERED that this case is remanded to the 345th Judicial District

Court of Travis County, Texas.

       All costs shall be taxed against the party incurring same.



       SIGNED this           day of                       ,   2021.




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AGREED ORDER OF REMAND                                                                     Solo Page
